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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION
  US EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,

         Plaintiff,

  v.                                                      Case No. 3:23‐CV‐01132‐WWB‐MCR

  WASTE PRO OF FLORIDA, INC.

       Defendant.
  __________________________

                                      CONSENT DECREE

         This Consent Decree (“Decree”) is made and entered into by and between the

  United States Equal Employment Opportunity Commission (the “EEOC”), and Waste Pro

  of Florida, Inc. (“Waste Pro” or “Defendant”) (hereinafter, the EEOC and Defendant are

  collectively referred to as “the Parties”).

                                         INTRODUCTION

         1.      The EEOC initiated this action on September 26, 2023, alleging Defendant

  violated Title VII of the Civil Rights Act of 1964 by subjecting Charging Party Fednol Pierre

  (“Charging Party” or “Mr. Pierre”) and a class of other aggrieved Black and/or Haitian-

  American employees at Waste Pro’s Jacksonville division to a hostile work environment

  on the basis of their race, color, and national origin and by retaliating against Mr. Pierre.

         2.      Waste Pro denies it violated Title VII. The agreement to enter into this

  Decree shall not be construed as an admission of liability by Waste Pro.

         3.      In the interest of resolving this matter, and to avoid the cost of litigation, and

  as a result of having engaged in comprehensive settlement negotiations, the Parties have
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  agreed that this action should be finally resolved by entry of this Decree. This Decree is

  final and binding on the Parties, and their respective successors and assigns.

         4.     No waiver, modification or amendment of any provision of this Decree will

  be effective unless made in writing and signed by an authorized representative of each

  of the Parties. By mutual agreement of the Parties, this Decree may be amended or

  modified in the interests of justice and fairness in order to effectuate the provisions of this

  Decree.

         5.     This Decree fully and finally resolves all claims in the underlying EEOC

  charge of discrimination, Charge No. 510-2022-04567 and the Complaint filed against

  Defendant, Civil Action No. Case No. 8:23-cv-01132-WWB-MCR (M.D. Fla.), brought on

  behalf of Fednol Pierre, and a class of Black and/or Haitian employees, including but not

  limited to (1) Shune Byrd, (2) Scott Sanders, (3) Morieo Melton, (4) Triforos Veal, (5)

  Takirah Shakir, (6) Antoine Harper, (7) Rolando Phillips, (8) Stevie McMillan, (9) Whittney

  Johnson, (10) William Toins, (11) Jefferey Mote, (12) Tasheba Brown, (13) Jocelyn

  Harris, (14) Derrick Turner, (15) Kenneth Bruner, (16) Tamika Ali, (17) Zebulun Jones,

  (18) Nichole Kelsey, (19) Tatyana Garvin, (20) Michael Sumlar, (21) Schneider Fleury,

  (22) Makita Perry, (23) Cassetta Baker (24) John Fowlers, and (25) Michael Reddick.

         6.     This Decree constitutes the complete understanding between the Parties

  with respect to the matters herein.

         7.     If one or more provisions of this Decree are rendered unlawful or

  unenforceable, the Parties shall attempt to agree upon what amendments to this Decree,

  if any, are appropriate to effectuate the purposes of this Decree. In any event, the

  unaffected provisions will remain enforceable.



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         8.     This Decree does not resolve any charges of discrimination that may be

  pending with the EEOC against the Defendant other than Charge No. 510-2022-04567.

  This Decree in no way affects the EEOC’s right to bring, process, investigate or litigate

  other charges that may be in existence or that may later be filed against the Defendant in

  accordance with standard EEOC procedures.

         9.     Nothing in this Decree shall be construed to limit or reduce the Defendant’s

  obligations to comply with the statutes enforced by EEOC: Title VII of the Civil Rights Act

  of 1964, as amended, 42 U.S.C. §2000e et seq., (“Title VII”), Title I of the Americans with

  Disabilities Act (“ADA”), 42 U.S.C. §12101, as amended, the Age Discrimination in

  Employment Act (“ADEA”), 29 U.S.C. §§621-633a, the Equal Pay Act (“EPA”), 29 U.S.C.

  §206(d), the Genetic Information Nondiscrimination Act of 2008 (“GINA”), 42 U.S.C. §

  2000f, and the Pregnant Workers Fairness Act (“PWFA”), 42 U.S.C. §§ 2000gg.

                                          FINDINGS

         10.    Having carefully examined the terms and provisions of this Decree, and

  based on the pleadings, record, and stipulations of the Parties, the Court finds the

  following:

                a.     This Court has jurisdiction over the subject matter of this action and

                       the Parties;

                b.     The Court will retain jurisdiction for the duration of this Decree;

                c.     No party shall contest the jurisdiction of this Court to enforce this

                       Decree and its terms or the right of the EEOC to bring an

                       enforcement suit upon alleged breach of any term(s) of this Decree;




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                d.     The terms of this Decree are adequate, fair, reasonable, equitable,

                       and just.    The rights of the class and the public interest are

                       adequately protected by this Decree; and

                e.     The terms of this Decree are and shall be binding upon the present

                       and future representatives, agents, directors, officers, successors

                       and assigns of Defendant.

  NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED AS FOLLOWS:


                                   DURATION OF DECREE

         11.    All provisions of this Decree shall be in effect (and the Court will retain

  jurisdiction of this matter to enforce this Decree) for a period of three (3) years after the

  Decree is entered by the Court (the “Effective Date”), provided, however, that if, at the

  end of the three (3) year period, any disputes regarding compliance remain unresolved,

  the term of the Decree shall be automatically extended (and the Court will retain

  jurisdiction of this matter to enforce the Decree) until such time as all such disputes have

  been resolved.

         12.    This Decree will not expire while any enforcement action concerning this

  Decree is pending.

                           GENERAL INJUNCTIVE PROVISIONS

         13.    Defendant, its officers, managers, and supervisors shall not subject Black

  or Haitian-American employees to racial epithets, racial slurs, threatening or intimidating

  behavior, physical violence, or deny Black employees the use of facilities, trucks, tools,

  truck routes and resources on the basis of their race, color, or national origin.




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         14.    If any Black or Haitian-American employees complain another employee

  subjected them to racial epithets, racial slurs, threatening or intimidating behavior,

  physical violence, or denied the use of facilities, trucks, tools, truck routes and resources

  on the basis of their race, color or national origin, Defendant shall promptly investigate

  and facilitate any remedial action in accordance with this Decree.

         15.    Defendant, its officers, managers and employees, shall not retaliate against

  Black or Haitian-American employees for complaining of a hostile work environment.

         16.    Defendant will not retaliate against any person(s) because the individual(s)

  provided information or assistance or participated in any way in the investigation of Mr.

  Pierre’s Charge or this lawsuit. Defendant will agree to provide a neutral reference to

  Charging Party and any class members.

                                      MONETARY RELIEF


         A. Damages and Class Administration

         17.    A “Class Fund” of $1,400,000.00 shall be distributed in accordance with the

  provisions set forth in this Section.

         18.    “Potential Class Members” shall be defined to include Charging Party and

  any Black or Haitian-American employee who worked at Defendant’s Jacksonville

  facilities who were subjected to a hostile work environment based on their race, color, or

  national origin, from February 2021 through December 31, 2023.

         19.    “Eligible Class Members” shall be defined to include those Potential Class

  Members who the EEOC determines were subjected to hostile work environment based

  on their race, color, or national origin.




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         20.    The EEOC shall have sixty (60) days after the Decree is entered to contact

  Potential Class Members (the “Class Outreach Period”) who were not already contacted

  or notified by the EEOC of the lawsuit. The EEOC shall attempt to contact each Potential

  Class Members that have not already been notified of the lawsuit by U.S. mail and any

  other means EEOC deems necessary.

         21.    The EEOC shall determine whether a Potential Class Member is an Eligible

  Class Member. To determine whether a Potential Class Member is an Eligible Class

  Member the EEOC shall rely on interviews of Potential Class Members and documents

  or other evidence provided by the Potential Class Members and/or the Potential Class

  Member’s representative.

         22.    Deceased Potential Class Members may be Eligible Class Members.

  Representatives of their estate or next of kin may submit evidence to support that an

  individual is an Eligible Class Member. The EEOC will require representatives of the

  estate or next of kin to provide evidence (such as death certificates, affidavits, and

  identification) to support the claim of being representatives of the estate or next of kin.

         23.    The EEOC will, in its sole discretion, make the final determination as to what

  Potential Class Members are Eligible Class Members.

         24.    The EEOC will, in its sole discretion, make the final determination of the

  amount of monetary compensation to be received by any Eligible Class Member. In

  determining the amount of monetary compensation to be paid to each Eligible Class

  Member, the EEOC shall consider the following factors: (1) the severity of the harassing

  conduct alleged, (2) the duration of the harassing conduct alleged, (3) the alleged

  emotional harm suffered by each class member; and (4) participation in the lawsuit.



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           25.   The EEOC will notify each Potential Class Member in writing of the amount

  of his or her monetary compensation or that the EEOC determined he or she is not an

  Eligible Class Member.

           26.   Each Eligible Class Member will receive a Release (attached as Exhibit 1)

  and will be notified that in order to receive monetary payments under this Decree, he or

  she must execute and deliver to the EEOC a release in the form attached as Exhibit 1.

  The Release will become effective upon the distribution of settlement funds to the

  individual Eligible Class Member. The EEOC will provide a copy of each Release to

  Defendant.

           27.   Sixty (60) days after the conclusion of the Class Outreach Period, the EEOC

  will provide the Defendant with the distribution list for the Class Fund. The distribution list

  shall include the information Defendant requires to distribute funds: [name of employee,

  address, and Tax ID number]. Defendant agrees they will not object to the distribution list.

           28.   Within fourteen (14) days of receiving the distribution list for the Class Fund,

  Defendant shall issue and mail any check(s) as set forth in the distribution list.

           29.   If Defendant fails to tender the payment described in the previous

  paragraph, then Defendant shall pay interest on the defaulted payments at a rate

  calculated pursuant to 26 U.S.C. § 6621(b) until the same is paid, and bear any additional

  costs incurred by the EEOC caused by the non-compliance or delay, including but not

  limited to any and all costs arising out of EEOC’s efforts to enforce this decree in federal

  court.

           30.   Any portion of the Class Fund that is not fully distributed to Eligible Class

  Members for any reason may be distributed to Charging Party or any other Eligible Class



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  Members. All or part of the Class Fund may not be distributed to the Eligible Class

  Members for reasons, including but not limited to, checks being returned as undeliverable

  and checks not being cashed and/or expired.

         31.    If the Class Fund is not fully distributed to Eligible Class Members, the

  EEOC will direct Defendant to pay the undistributed portion of the Class Fund to Charging

  Party or other Eligible Class Members. No funds shall revert to Defendant.

         32.    Defendant shall not disclose the identity of persons who EEOC determines

  are eligible for settlement monies except to accountants, lawyers or human resource

  managers outside of the Jacksonville division on a need to know basis. The identities of

  persons who wish to participate shall not be disclosed to any persons who work in the

  Jacksonville division.

                      TAX TREATMENT OF SETTLEMENT AMOUNT

         33.    EEOC’s reporting requirements under IRC Sections 162(f) and 6050X. The

  EEOC may be required to report the fact of this settlement to the IRS under Section 162(f)

  and 6050X of the Internal Revenue Code which allow for certain payments by employers

  to be deducted from the employer’s taxes. If the EEOC is required to do so, the EEOC

  will provide the employer with a copy of the 1098-F form that it will provide to the Internal

  Revenue Service (IRS).

         34.    Defendant’s EIN number is XX-XXXXXXX.

         35.    The individual(s) to whom the EEOC should mail a copy of the form 1098-

  F, if the EEOC is required to issue one is/are: Sean Jennings, Chief Executive Officer,

  Waste Pro of Florida, Inc.




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         36.    No Representations or Reliance. The EEOC has made no representations

  regarding whether the amount paid pursuant to this settlement qualifies for the deduction

  under the Internal Revenue Code. The provision of the Form 1098-F by the EEOC does

  not mean that the requirements to claim a deduction under the Internal Revenue Code

  have been met. Any decision about a deduction pursuant to the Internal Revenue Code

  will be made solely by the IRS with no input from the EEOC. The parties are not acting in

  reliance on any representations made by the EEOC regarding whether the amounts paid

  pursuant to this Decree qualify for a deduction under the Internal Revenue Code.

                        EMPLOYMENT OF COMPLIANCE OFFICER

         37.    Defendant shall hire a subject matter expert (with no previous relationship

  to Defendant and approved by the EEOC) as a compliance officer, who will oversee

  Defendant’s compliance with EEO laws (the “Compliance Officer”).

         38.    The Compliance Officer shall investigate all complaints of race

  discrimination and/or retaliation in the Northeast Region for eighteen (18) months

  following the entry of the Decree and make recommendations to management in writing

  regarding the proper resolution of such complaints. The Compliance Officer will oversee

  all investigations of race discrimination in the other regions of Defendant for thirty-six (36)

  months following the Decree and will oversee the investigations in the Northeast Region

  for months nineteen (19) through thirty-six (36) of the Decree. Overseeing shall include

  approving the investigative steps and approving recommendations to management

  regarding the proper resolution of complaints.

         39.    The Compliance Officer, among other responsibilities, shall also ensure

  compliance with the terms of this Decree.



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          40.    The Compliance Officer must have extensive experience in compliance with

   EEO laws and policies.

          41.    Within fourteen (14) days of appointing the Compliance Officer, Defendant

   shall inform the EEOC of its selection and provide the Compliance Officer’s (1) name, (2)

   job title, (3) direct phone number, (4) email address, and (5) resume.

          42.     If at any point the Compliance Officer becomes unavailable to serve in the

   capacity of Compliance Officer, Defendant will appoint a new person to serve as a

   Compliance Officer within seven (7) calendar days, subject to approval by the EEOC, and

   shall provide EEOC their contact information identified in the previous paragraph.

          43.    EEOC may communicate directly with the Compliance Officer at any time.

   Upon receipt, the Compliance Officer shall supply to the EEOC all data, documentary

   information, reports, written statements, certifications, and notices specifically required to

   be delivered pursuant to this Decree.

          44.    Subject to the limitation set forth herein, the scope of the Compliance

   Officer’s duties and responsibilities shall apply to all of Defendant’s Florida locations.

                                 REVIEW OF EEOC POLICIES

          45.    Within sixty days of the Effective Date, Defendant shall review and revise

   their existing equal employment opportunity (“EEO”) policies and procedures and internal

   complaint procedures for complaints of discrimination, harassment, and retaliation for

   complaining about, reporting or otherwise opposing such discrimination.

          46.    Defendant’s policies shall, at a minimum:

                  a. Clearly define prohibited conduct and specifically prohibit race-based,

                      color-based, and national origin-based harassment, discrimination,



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                  and/or retaliation discrimination against all employees, including

                  subjecting employees to racial epithets, slurs, negative stereotyping,

                  denigrating jokes, or threatening or intimidating behavior; providing

                  different facilities, trucks or work benefits based on an employee’s race

                  or national origin; and subjecting employees to demeaning and

                  humiliating working conditions on the basis of race national origin;

               b. Prohibit harassing conduct at all locations and state that harassing

                  conduct will not be tolerated from its employees; customers; and

                  contractors.

               c. Explicitly prohibit employees from physically or verbally threatening

                  another employee in order to racially harass another employee;

               d. Explicitly prohibit the use of sexual advances and sexual comments to

                  another employee in order to racially harass another employee;

               e. The Policy must contain a detailed explanation of Title VII’s prohibition

                  against race and national origin discrimination, racial harassment and

                  retaliation, including a list of prohibited behavior that will not be

                  tolerated from Defendant’s employees, supervisors, managers,

                  customers, clients or any other persons present at any of Defendant’s

                  premises or at any place where Defendant conducts business. The

                  prohibited behaviors shall include the assignment of trucks, routes on

                  the basis of race or national origin, and shall require a policy that

                  provides for the assignment of truck and routes to take place on a race

                  neutral basis by way of a written clearly defined seniority system that



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                  also uses objective metrics to take into account the skill set and

                  performance of the employees;

               f. The Policy must state that single incidents of harassment can create a

                  hostile work environment based on race and contain examples of the

                  types of single incidents that can create a hostile work environment,

                  including: an actual or depicted noose or burning cross (or any other

                  manifestation of an actual or threatened racially motivated physical

                  assault), a favorable reference to the Ku Klux Klan, an unambiguous

                  racial epithet such as the “N-word,” and a racial comparison to an

                  animal;

               g. Provide examples of prohibited conduct, including but not limited to the

                  following:

                  Verbal: Jokes, insults, innuendoes, innuendos, epithets, and slurs

                  based on race, specifically use of the n-word.

                  Non-Verbal: displaying any racially offensive or stereotypical image in

                  the   workplace,   including   displays   of   body   tattoos,   clothing,

                  paraphernalia with racially offensive images or language, including but

                  not limited to images showing or language making reference to the

                  confederate flag or white supremacist groups.

               h. Identify that complaints of race-based, color based, and national origin-

                  based harassment, discrimination, and/or retaliation may be made to

                  the complainant’s manager or a higher-level management official, or

                  Compliance Office; the policy must provide the name, email and phone



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                    number of the Compliance Officer, and any higher-level management

                    official that discrimination can be reported to;

               i.   Expressly provide that a report need not be made to the alleged

                    harasser or discriminating official;

               j.   Require all managers with any supervisory authority, to promptly

                    escalate all verbal or written complaints of prohibited harassment they

                    receive, witness, and/or become aware of to the Compliance Officer.

                    Defendant shall warn managers on a bi-annual basis via phone or email

                    that a failure to promptly escalate such complaints will result in

                    discipline up to and including termination and inquire as to whether they

                    have received any such complaints;

               k. Assure that if an allegation of discrimination against any employee is

                    substantiated, then such conduct will result in appropriate discipline, up

                    to and including discharge;

               l.   Affirmatively prohibit any and all discrimination against employees for

                    making complaints of violations of Title VII in the workplace, regardless

                    of the outcome of the employees’ complaints;

               m. Include an assurance that Defendant’s will make every effort to avoid

                    the disclosure of the identity of any persons who make a complaint of

                    discrimination, and shall not divulge the identity of the person who

                    complained if he or she wishes to remain anonymous, unless absolutely

                    necessary to reach a determination regarding whether discrimination

                    occurred.



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                n. Include Defendant’s assurance that it will accept any and all complaints

                    from employees who wish to make complaints internally; and

                o. The Policy must contain assurances that Defendant will not retaliate

                    against employees who make complaints of discrimination, who

                    oppose practices they consider to be unlawfully discriminatory, and/or

                    who participate in protected activity or who provide information related

                    to complaints of discrimination.

    47. The name of the responsible human resources representative shall be included in

       every offer letter to potential employees and posted in the main office such that in-

       person applicants have access to such information.

    48. The policies shall also be included in the employee handbook and provided to all

       employees at all Florida locations by letter or email or inclusion in the ADP app by

       Defendant within sixty (60) days of the Effective Date of the Consent Decree;

    49. The internal complaint procedure shall clearly state and Defendant shall require:

                a. The investigator(s) will interview the complainant and witnesses

                    privately, outside the presence of the accused;

                b. The complainant’s identity shall not be disclosed where a finding of

                    discrimination can be made by merely divulging the complainant’s

                    department, race or position.

                c. Except in case of an emergency, any person who makes a creditable

                    claim of discrimination and wishes to remain anonymous, but whose

                    name must be divulged in order to complete the investigation shall be

                    given at least 48-hours written notice. The written notice shall inquire



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                    as to whether they believe the disclosure of their identity risks their

                    safety or is likely to cause mental anguish. If an employee is concerned

                    that there is a risk to their safety or likely mental anguish, Defendant

                    will defer to the Compliance Officer as to how to proceed.

               d. A complainant may voluntarily elect to take unpaid administrative leave

                    during the investigation process, but shall be notified in writing that they

                    are entitled to reinstatement to their former shift or location upon

                    completion of the investigation regardless of the outcome, unless

                    decided otherwise in conferral with the Compliance Officer;

               e. Defendant will make reasonable efforts to complete the investigation

                    within thirty (30) business days, absent extenuating circumstances;

               f. The investigator(s) will interview all available witnesses, including the

                    complainant and all potential victims of discrimination, and review all

                    appropriate relevant and available evidence, including video;

               g.    Defendant and its supervisors will maintain and not destroy any

                    evidence of discrimination, including evidence which an employee

                    making a complaint alleges supports their complaint, for at least one

                    year, or longer if Defendant receives document preservation notice

                    from the EEOC or a charge of discrimination. The policy shall explicitly

                    apply to video evidence and other electronically stored information.

               h. Defendant will communicate with the complainant in writing regarding

                    the status of the complaint, investigation and any final determination




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                    within five (5) business days after the conclusion of the investigation,

                    absent extenuating circumstances;

               i.   Defendant will memorialize verbal complaints and maintain written

                    records of all investigatory steps, including interview notes, findings or

                    conclusions of the investigation and any remedial actions taken.

                    Defendant shall also electronically memorialize complaints, the identity

                    of accused discriminatory actors, and investigatory outcomes

                    electronically in a database or spreadsheet in a manner that provides

                    for the centralized, statewide tracking of discrimination and retaliation

                    complaints and the monitoring of such complaints to prevent retaliation.

               j.   All aspects of an investigation of workplace discrimination will be

                    thoroughly documented in written form.

               k. If it is determined that discrimination took place, the accused

                    discriminatory actor shall be disciplined and/or terminated in

                    accordance with the Compliance Officer’s recommendation and the

                    complainant and other victims of discrimination shall not be required to

                    work with them.

               l.   The investigator(s) will follow up with a complainant within five (5)

                    business days after resolution of the complaint and again within thirty

                    (30) business days after resolution of the complaint to inquire whether

                    the complainant believes that he or she has been subjected to further

                    harassment,      discrimination   or   retaliation,   absent   extenuating

                    circumstances.



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                  m. During the investigation, the complainant shall not be required to

                     confront his or her harasser;

                  n. Approximately thirty (30) and ninety (90) days following an

                     investigation, Defendant’s Compliance Officer representative will follow

                     up with the complainant to ensure that retaliation is not occurring.

                     Defendant shall also provide optional anonymous exit surveys to former

                     employees at the cessation of employment and investigate any

                     complaints of retaliation and/or discrimination.

          50.    Within ninety (90) days of the Effective Date, Defendant has provided the

   EEOC with a copy of the policies and procedures described in this agreement, including

   the revised internal complaint procedures. Upon receipt, the EEOC shall have fifteen (15)

   days to comment on the policies and procedures. EEOC will review the policy only for

   compliance with this Section, and can provide comment or request revision due to non-

   compliance.

          51.    Defendant shall distribute the revised policies and procedures described in

   this Section to its employees who are or had worked at Florida locations, including hourly,

   management, supervisory, and human resources employees, within thirty (30) days after

   the EEOC’s review of the polices. Thereafter, the revised policies and procedures will be

   available to Defendant’s employees online.

          52.    New employees will receive a copy of the policies and procedures described

   in this Section on the first day of their employment.

          53.    The Policy shall be provided in English and any other language known to

   be the primary language Defendant’s employees are able to read.



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                                          TRAINING

          54.    Manager/Supervisor Training. Defendant shall retain a Compliance Officer

   (who is not an employee of Defendant) to conduct annual training on Title VII for all of

   Defendant’s HR employees (including the Compliance Officer), supervisors, and

   executives responsible for Defendant’s compliance with Title VII for the Northeast region.

          55.    The training shall be a live virtual (Teams or Zoom) harassment training

   program to take place annually during the duration of this Decree, for a total of three (3)

   training sessions. The Chief Executive Officer and Chief Operating Officer will attend the

   first training session. The program shall include at least one and a half (1.5) hours of

   training on how to recognize discrimination/harassment, training on how to take

   preventive and corrective measures against discrimination/harassment, responsibilities

   of managers under equal employment opportunity laws and Defendant’s policies, training

   on how to properly handle and investigate complaints of discrimination and/or harassment

   in a neutral manner, conducting anonymous investigations, record keeping and evidence

   retention, how to prevent retaliation, and will have a focus on preventing race

   discrimination and harassment on the basis of race in the workplace.

          56.    The training shall include components containing instruction on implicit bias

   and equity; how to report discrimination; how to file a charge with the EEOC or the Florida

   Commission on Human Relations; and “bystander intervention training,” i.e., instruction

   that will emphasize that a worker who observes discrimination, harassment, a hostile work

   environment or retaliation should report it to management, Human Resources and/or to

   the Compliance Officer.




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          57.      The initial training of HR and management and supervisory employees must

   be concluded within one hundred twenty (120) days of the Effective Date of this Decree.

          58.      At least fourteen (14) days prior to Defendant commencing this training,

   Defendant will provide the following to the EEOC for review and comment: (a) a detailed

   agenda with proposed training materials, (b) curriculum vitae for the individual(s) who will

   conduct the training, and (c) a plan to ensure that all employees receive the required

   training. The training programs will be conducted by a third-party entity subject to approval

   by the EEOC.

          59.      Each training also shall meet the following requirements

                a. Each person who attends the training shall be identified on a sign-in sheet

                   to be filled out at the beginning of the training;

                b. The training shall be interactive and participants shall be permitted to ask

                   questions regarding the material covered

          60.      Non-Supervisory/Manager Employee Training. Beginning one hundred

   twenty (120) days after the Effective Date of the Decree, all non-supervisory employees

   who work in the Northeast region shall be required to participate in a one-hour live

   harassment training. The training may be attended virtually via zoom or similar platform,

   provided that the trainer and all participants have videos turned on.

          61.      The training shall include components containing instruction on implicit bias

   and equity; how to report discrimination; how to file a charge with the EEOC or the Florida

   Commission on Human Relations; and “bystander intervention training,” i.e., instruction

   that will emphasize that a worker who observes discrimination, harassment, a hostile work




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   environment or retaliation should report it to management, the Compliance Officer, or to

   Human Resources,.

          62.    Defendant shall ensure that the training is developed and administered by

   instructors with expertise in anti-harassment and anti-discrimination matters. The

   interactive harassment training shall be created by a third-party entity subject to approval

   by the EEOC. The training shall be at least one (1) hour in length and shall include:

   instruction on equal employment opportunity rights and responsibilities, including, but not

   limited to, Title VII’s prohibitions against race-based harassment or retaliation, and

   Defendant’s policies and procedures for reporting and handling complaints of race based

   harassment or retaliation, including how to report harassment to and what to expect after

   reporting harassment; and “bystander intervention training,” (i.e. instruction that will

   emphasize that a co-worker who observes workplace harassment should report it to

   management). The training shall be interactive to the extent trainees will be required to

   answer questions and receive a passing score about the topics and scenarios presented

   through the training.

          63.    Training for New Employees. Defendant shall provide at least one (1) hour

   of training for all new non-supervisory employees and three (3) hours of training for all

   new management/supervisory employees, and five (5) hours of training for all new and

   current human resource managers, specialists and others responsible for investigating

   and/or responding to complaints of discrimination, within thirty (30) days of the

   commencement of their employment or within sixty (60) days of the entry of the Decree

   for current human resource managers and specialists. The training will review the rights

   and responsibilities of employees under federal anti-discrimination laws and how such



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   laws define unlawful discrimination, with a focus on preventing race discrimination and

   racial harassment. The training will include examples of unlawful conduct. The training

   will cover Defendant’s anti-discrimination policies and procedures with particular

   emphasis on the internal complaint, investigation, and remediation processes and an

   employee’s right to file with the EEOC and state agencies. For supervisory, management,

   and human resources employees, the training will also include the proper procedures for

   responding to complaints of discrimination or harassment.

           64.   At least fourteen (14) days prior to any training required under this

   Agreement (except new employee training), Defendant will provide EEOC notice of the

   date, time and location of the training. The EEOC, at its discretion, may attend and

   observe one or more training sessions and may provide changes to be implemented by

   the trainer. All employees attending any training session described in the above

   paragraphs will print and sign their full names on an attendance sheet. Within seven (7)

   days of the completion of any training described in the preceding paragraphs, Defendant

   will provide the EEOC with copies of all attendance sheets and a then-current employee

   list.



                                 DISTRIBUTION OF NOTICE

           65.   Within ten (10) calendar days from the Court’s approval of this Consent

   Decree, Defendant shall post an eleven (11) inches by fourteen (14) inches laminated

   copy of the Notice attached as Exhibit 2 to this Decree at its Jacksonville division . The

   Notice shall remain posted for the duration of the Complaint Outreach Period. Defendant




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   shall take all reasonable steps to ensure that the posting is not altered, defaced or

   covered by any other material.

         66.      At the first reporting period, Defendant shall certify to EEOC in writing that

   the Notice was properly physically posted as described in this section, and Defendant

   must also take a photograph of the Notice and its posted location.

                                          REPORTING

         67.      On March 15 and September 15, annually, Defendant shall provide the

   EEOC with written reports that shall contain:

               a. A certification that Defendant has completed all trainings required by the

                  Decree;

               b. A certification that any required Notices under the Decree have been posted

                  for the entire period as required by the Decree;

               c. A certification that any complaints of race-based harassment made by

                  Defendant’s Florida employees within the prior six (6) months were promptly

                  addressed and investigated, and/or that there were no complaints of any

                  such harassment.

               d. A report from the Compliance Officer advising of the (a) number of race

                  discrimination complaints, (2) whether each step taken by Defendant during

                  the investigation was consistent with the Policies, (3) the results of any

                  investigations of the complaints, and (4) any remedial action taken by

                  Defendant. Upon request the compliance officer will provide the EEOC the

                  names and contact information of any complainant.




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                                   DISPUTE RESOLUTION

         68.      In the event that a party to this Decree believes that the other party has

   failed to comply with any provision of this Decree, the complaining party shall notify the

   other party of the alleged non-compliance within fifteen (15) business days of the

   discovery of the alleged non-compliance and shall afford the alleged non-complying party

   fifteen (15) business days to remedy the alleged non-compliance or to satisfy the

   complaining party that the alleged non-complying party has complied. The fifteen (15)

   days to cure provision of this Paragraph shall not apply, however, to the payments

   required by Paragraphs 28, 29 and 31 above.

         69.      If the alleged non-complying party has not remedied the alleged non-

   compliance or satisfied the complaining party that it has complied within fifteen (15)

   business days, the complaining party may apply to the Court for appropriate relief.

         70.      Dispute Resolution described in this section shall not apply to Defendants

   obligations to make payments pursuant to paragraphs 28, 29 and 31.

                              NOTIFICATION TO SUCCESSORS

         71.      Defendant shall provide prior written notice to any successor of the EEOC’s

   lawsuit, allegations raised in the EEOC’s complaint, and the existence and contents of

   this Decree.

                        CONTACT FOR REPORTING REQUIREMENT

         72.      All reports, notices and other documents required hereunder to be delivered

   to EEOC shall be sent to mdoconsentdecreecompliance@eeoc.gov and specify the

   following in the subject line: “EEOC v. Waste Pro Consent Decree Compliance”.

                                            COSTS



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          73.    Each party to this Decree shall bear its own expenses, attorney fees, and

   costs associated with this litigation and the Consent Decree.

                          NO CONDITIONS ON RECEIPT OF RELIEF

          74.    Defendant will not condition Charging Parties receipt of individual relief on

   their agreement to: (a) maintain as confidential the terms of this Consent Decree or the

   facts of the case; (b) waive their statutory right to file any future charge with any federal

   or state anti-discrimination agency that is unrelated to this litigation; or (c) promise not to

   reapply in the future for a position, directly or indirectly, with Defendant.



   SO ORDERED, ADJUDGED AND DECREED, this ____day of _________ 2024.


                                               ____________________________________
                                               JUDGE WENDY W. BERGER
                                               UNITED STATES DISTRICT JUDGE




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   AGREED TO:
   FOR THE PLAINTIFF, EQUAL EMPLOYMENT OPPORTUNITY COMMISSION:

   By:   ________________________________                  10/15/2024
                                                     Date: ___________
         Kristen Foslid, Esq.

   Regional Attorney for U.S. Equal Employment Opportunity Commission
   Florida Bar No. 688681
   Miami District Office
   Miami Tower, 100 S.E. 2nd Street, Suite 1500
   Miami, Florida 33131
   Tel: (305) 808-1789
   Fax: (305) 808-1835
   E-Mail: kristen.foslid@eeoc.gov




   AGREED TO:

   FOR DEFENDANT, WASTE PRO OF FLORIDA, INC.

   By:         ________________________________                  10/15/2024
                                                           Date: ___________


               Brian Wintjen
               ________________________________
               Print Name

               Regional Vice President
               ________________________________
               Title




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                                       EXHIBIT 1
                                  RELEASE AND WAIVER


   IN CONSIDERATION OF SETTLEMENT FUNDS RECEIVED in the amount of $_______

   under the Consent Decree dated __________________, in connection with the resolution

   EEOC v. Waste Pro of Florida, Inc. 3:23-cv-01132 (M.D. Fla.), I hereby provide the

   following release/waiver of claims against Waste Pro of Florida, Inc.:

   I hereby knowingly, voluntarily, irrevocably and unconditionally waive and release all

   claims, actions, damages of any sort, costs, expenses and attorneys’ fees, and liabilities

   of any nature whatsoever for race based, color based, or national origin-based hostile

   work environment and/or harassment discrimination arising under Title VII of the Civil

   Rights Act of 1964 or Title I of the Civil Rights Act of 1991, that were included in the

   violations alleged in the Complaint filed by the EEOC, from February 2021 to the Effective

   Date of the Consent Decree.



   Date: __________

   Full Name: ______________________________________________
          [Claimant Name Printed]

   Mailing Address: __________________________________

   ________________________________________________

   ________________________________________________

   Social Security Number: ____________________________

   Signature: ________________________________________




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                                          EXHIBIT 2
                          U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION


   1.     This NOTICE to all employees of Waste Pro of Florida, Inc. (“Waste Pro”) is being
   posted and provided as part of a mutually agreed upon Consent Decree between Waste
   Pro and the U.S. Equal Employment Opportunity Commission (“EEOC”) as a result of a
   Civil Action which alleged that Waste Pro subjected Black and Haitian-American
   employees to harassment based on race, color, and national origin. While Waste Pro
   denies these allegations, as part of the resolution of this matter, Waste Pro has agreed
   to post this Notice to reflect its commitment to a workplace free of harassment.

   2.      Waste Pro reaffirms that Title VII protects individuals from employment
   discrimination, including harassment, because of their race, color, and national origin.
   Additionally, Title VII protects employees from discrimination for making charges,
   testifying, assisting, or participating in enforcement proceedings. Waste Pro has never
   and will never condone employment discrimination of any kind as set forth in federal anti-
   discrimination laws. It is the policy of Waste Pro to offer employment opportunities to all
   qualified employees and applicants, regardless of sex, race, color, religion, national
   origin, age, disability, or other protected characteristic. Waste Pro does not tolerate
   intentional discrimination in violation of the provisions of Title VII of the Civil Rights Act of
   1964, as amended; the Age Discrimination in Employment Act (ADEA); Genetic
   Information Nondiscrimination Act of 2008 (GINA); the Equal Pay Act (EPA) of 1963; the
   Americans with Disabilities Act (ADA), as amended; or the Pregnant Workers Fairness
   Act of 2023 (PWFA).

   3.    If you or feel you have been treated unfairly in any way based on your race, please
   contact [insert name] at [email] or phone [insert].

   4.     The EEOC is the federal agency responsible for enforcing the federal laws
   described above and receiving complaints regarding their violation. EEOC maintains
   offices throughout the United States, and can be contacted at 1-800-669-4000 and
   www.eeoc.gov.

   5.   This NOTICE will remain posted for sixty (60) days following the entry of the
   Consent Decree.

                                               SIGNED this ____ day of _____________,
                                               2024.




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